Case 3:51-cv-01247-JO-SBC Document1 Filed 01/25/51 PagelD.259 Page1of1

oF 8 SAN BERNARDINO
4 | RIALTO
4 COLTON loa z=. '
Z ta)
= 1 7 W or \ SAN BERNARDINO MTS.
@ TO ONTARIO & POMONA 4 \ C
ay A
wr) LOMA LINDA REDLANDS
~ YUCAIPA
RUBI DOUX A os
Peny, / , 4 © QEVHIGHGROVE. Ss
Ma 4 NA
a, "2 : 4 \ hp
RIVERSIDE Wf ~——B 0%,
Cc : 4 "hs / MORONGO INDIAN RES.
DE (%o.
: 4 NIVERSITY ‘
qo ACALIFORNIA #45
4 RIVERSIDE . ey
& no cose — as
Z SUNNYMEAD cok
g BANNING
Aan" x
%
’ ™
ARANANANAS SY .

—. 10
VAN BUREN ®™

e Anes COTES: . me
7 ARLINGTON "FOREBAY AND HEADWORKS | oy  aut®. RY oe
OM TN ” : oe 2 A ¥,
3h ae —— eR
is es ~ ; ay : RA a :
GT AKE MATHENS \ gS
AVE, RG ms
CABALCO RO- Po ees
SAN JACINTO a
mre A ooo anne DIVERSION STRUCTURE

-

SAN blEsO CANAL —
TURNOUT AND CONTROL
A STRUCTURES S ce

vautey ) :

ISTA

a
©

ESTELLE MTN. SANTA ROSA fp,

STEELE PK.

ALBERHILL

. WINC

WINCHESTER \RD)

nesTeR/

| CANYON

LAKE HEMET
LAKE

J by : SAN BERNARDINO

NATIONAL FOREST

EWPORT ROAD

ELSINORE
CONTROL STRUCTURE

ORANGE COUNTY

BACHELOR MOUNTAIN SPILLWAY

I>

bY ——
AD. a me
BUNDY

SCREENING STRUCTURES

mh f

WILDOMAR

=
a.
: Soe
RIVERSIDE COUNTY - SAN DIEGO SYSTEM wy z of
FEATURE CODE INDEX DESIGNATIONS # -
iN ELSI Sax
CURRENT TITLES ORIGINAL TITLES XK 7$ peers OR 7
NO. NO. . f-
1, COLORADO RIVER AQUEDUCT 1. COLORADO RIVER AQUEDUCT - ' %
%, COLORADO RIVER AQUEDUCT - 2. COLORADO RIVER AQUEDUCT, <p
CASA LOMA SIPHON, FIRST BARREL FIRST CASA LOMA SIPHON ALT Y bg
3. COLORADO RIVER AQUEDUCT - 3. COLORADO RIVER AQUEDUCT, VAIL LAKE R3 eo
CASA LOMA SIPHON, SECOND BARREL SECOND CASA LOMA SIPHON fw QE *»
4, COLORADO RIVER AQUEDUCT - 4. CASA LOMA CANAL Se Pen 2
CASA LOMA CANAL 5. FIRST SAN DIEGO AQUEDUCT _ ot wont
§. SAN JACINTO PIPELINE 6. FIRST SAN DIEGO AQUEDUCT, ' a
6. SAN DIEGO PIPELINE NO. 1 FIRST BARREL : by
1. SAN DIEGO PIPELINE NO. 2 7. FIRST SAN DIEGO AQUEDUCT,
8. SAN DIEGO CANAL : SECOND BARREL
9. SAN DIEGO PIPELINE NO. 3 8 SAN DIEGO AQUEDUCT CANAL
10, SAN DIEGO PIPELINE NO, 4 9.. SECOND SAN DIEGO. AQUEDUCT,
Ces ee : FIRST PIPELINE
12, LAKE MATHEWS 10. SECOND SAN DIEGO AQUEDUCT,
13... LAKEVIEW PIPELINE SECOND PIPELINE
Me SKINNER® os 11, SAN JACINTO, SAN VICENTE RESERVOIR RIVERSIDE
15 ETRATION PUT | 12. casatco Reservoir : =
16, UPPER FEEDER 13, PIPELINE (PERRIS CONTROL FACILITY. : : ey, 2
1, LOWER FEEDER TO SAN DIEGO CANA DAI . SAN DIEGO COUNTY
18. BOX SPRINGS FEEDER 14, 15, 16, 17, 18, 19 ORIGINAL AND RAINBOW MOUNT OLYMPUS
19 RIVERSIDE FILTRATION PLANT CURRENT TITLES ARE THE SAME - NWD
: OWNERSHIP CLEVELAND NATIONAL FOREST
RAINBOW ‘*)
poet ee MA TUNNEL. ce
. ? FALLBROOK MONSERATE aS pe
S 4 MTN. . -// - MASSION INDIAN RESERVATION PALOMAR MTN.
CAMP JOSEPH H, PENDLETON U.S.M.C. L oONSIS RECHE RO. ‘ oe ~ >
/ - oe es @ PALOMAR OBSERVATORY
L

!
I O'NEILL LAKE

i

: or $]
%
os,
X

YQ PAUMA
KyN VALLEY
=

\ RINCON

-N-

at

ACIFIC N

* p NOT TO SCALE Iy $I

A, BONSALL [4

RINCON INDIAN RESERVATION

em

